














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






PD-NO. 102-08





SON H. PHAM, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE SECOND COURT OF APPEALS

TARRANT COUNTY





Per curiam.  Keasler and Hervey, JJ., dissent.


ORDER

	The petition for discretionary review violates Rule of Appellate Procedure 68.4(i), 
because the original petition does not contain a copy of the opinion of the court of
appeals.										

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition. The redrawn petition and copies must be
filed in the COURT OF CRIMINAL APPEALS within thirty days after the date of this
order.

Delivered:   May 21, 2008

Do Not Publish


